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                     Exhibit 05
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                       Reminder Regarding Documentation Requirements for
                            Business Economic Loss (“BEL”) Claims

I.         INTRODUCTION

           In support of a Business Economic Loss (“BEL”) claim, Section 4 of Exhibit 4A of the
           Settlement Agreement Framework requires monthly and annual profit and loss
           statements, or alternate source documents establishing monthly revenues and expenses
           for the claimed Benchmark Period, 2010 and, if applicable, 2011. The Claims
           Administrator submits the following reminder to assist claimants in understanding how
           they can satisfy this required documentation.

II.        MEANS FOR SATISFYING REQUIREMENT OF MONTHLY P&L’S

           A. BEL claimants are required to submit both monthly and annual profit and loss
              statements that were maintained in the course of their business.

           B. If a BEL claimant did not maintain monthly profit and loss statements, that claimant
              may create such monthly statements based on contemporaneous alternate source
              documents (such as bank statements, check registers, cancelled checks, etc.). If
              accounting services are retained to create such monthly statements, those accounting
              expenses may be submitted for reimbursement in accord with the terms of the
              Claimant Accounting Support provisions as set out in Section 4.4.13 of the Settlement
              Agreement.


           C. If a BEL claimant did not maintain monthly profit and loss statements and if creating
              such statements would result in an undue burden to the claimant despite the
              availability of Claimant Accounting Support reimbursement, the claimant may
              provide the contemporaneous alternate source documentation to the Claims
              Administrator, and the Claims Administrator’s accountant team will work with the
              claimant to devise monthly financial statements sufficient to enable evaluation of the
              claim.




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